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 5   Counsel for Defendant Officer Jazmina Flanigan

 6                                UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA

 8    BONNIE LOPEZ, individually as sister and        Case No.:
      Special Administrator for the Estate of
 9    MELODY MORGAN, deceased; COLLEEN
      LACKEY, individually as mother of
10    MELODY MORGAN, deceased,

11       Plaintiffs,                                        PETITION FOR REMOVAL

12    THE STATE OF NEVADA ex rel.
      NEVADA            DEPARTMENT      OF
13    CORRECTIONS, WARDEN DWIGHT
      NEVEN, individually; GARY PICCININI,
14    ASSISTANT WARDEN, individually;
      BRYAN SHIELDS, individually; OFFICER
15    JOEL TYNING, individually; OFFICER
      KARISSA CURRIER; OFFICER JAZMINA
16    FLANIGAN; NURSE JANE BALAO;
      NURSE BRIGIDO BAYAWA; NURSE
17    LEILANI FLORES; NURSE ROSEMARY
      MCCRARY;          NURSE   MA    LITA
18    SASTRILLO; NURSE CHRIS SHIELDS;
      DOES I through X; and ROE ENTITIES I
19    through X, inclusive,

20       Defendants.

21
            Defendant Officer Jazmina Flanigan (Officer Flanigan) hereby removes the action entitled
22
     Bonnie Lopez, et al. v. The State of Nevada ex rel. Nevada Department of Corrections, et al., case
23
     no. A-20-814296-C in the Eighth Judicial District of Clark County, Nevada, to the United States
24
     District Court for the District of Nevada. Removal of this action is made pursuant to 28 U.S.C. §§
25
     1331, 1441, and 1446. The specific grounds for removal are:
26
            1.         Removal is timely under 28 U.S.C. § 1446(b). A notice of removal may be filed
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     within thirty days after receipt, by service or otherwise, by a defendant of a summons and the
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                                                      1
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 1   complaint. 28 U.S.C. § 1446(b). The removal deadline does not begin to run until a summons is

 2   served. Murphy Bros. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 347–48 (1999). Officer

 3   Flanigan was served with a summons and a copy of the complaint on May 19, 2021. The Complaint

 4   is attached hereto as Exhibit A and the Declaration of Service is attached hereto as Exhibit B. Thirty

 5   days has not lapsed since Officer Flanigan was served with the Complaint.
            2.      Written notice of the filing of this petition for removal will be served and a copy will
 6
     be filed with the clerk of the Eighth Judicial District Court of Clark County, Nevada, promptly after
 7
     this petition for removal is filed, as required by 28 U.S.C. §1446(d).
 8
            3.      All Defendants have agreed to this removal.
 9
            4.      Based on the foregoing, Officer Flanigan removes this action now pending in the
10
     Eighth Judicial District Court of Nevada, as Case No. A-20-814296-C, to this Court.
11
            WHEREFORE, the District of Nevada has subject matter jurisdiction over the state action.
12
                            DATED June 18, 2021.
13
                                                   MCNUTT LAW FIRM, P.C.
14
                                                   /s/ Dan McNutt                      .
15                                                 Daniel R. McNutt, Esq., Bar No. 7815
                                                   Matthew C. Wolf, Esq., Bar No. 10801
16                                                 625 South Eighth Street
                                                   Las Vegas, Nevada 89101
17                                                 Counsel for Defendant Officer Jazmina Flanigan

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 1                                       CERTIFICATE OF SERVICE

 2          The undersigned is an employee of McNutt Law Firm, P.C. and certifies that under Fed.

 3   R. Civ. P. 5, on June 18, 2021, I served a true and correct copy of PETITION FOR REMOVAL

 4   by mailing a copy by United States Postal Service, postage prepaid, via email, or via electronic

 5   mail through the United States District Court’s CM/ECF system’s E-Filing system to the e-mail

 6   addresses provided on the e-service list.

 7
 8                                               /s/ Lisa Heller                  .
                                                 An Employee of McNutt Law Firm, P.C.
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